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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 20-cv-24821-UU

  _________________________________
  FEDERAL TRADE COMMISSION, )
                                        )
         Plaintiff,                     )
                                        )
             v.                         )
                                        )
  DIGITAL INCOME SYSTEM, INC., )
    a Florida corporation,              )
                                        )
  DEREK JONES FOLEY, aka Derek )
    Jones, individually and as an owner,)
    officer, and/or manager of          )
    Digital Income System, Inc.,        )
                                        )
  WILLIAM FOLEY, individually and )
    as an owner, officer, and/or        )
    manager of Digital Income           )
    System, Inc.                        )
                                        )
  CHRISTOPHER BRANDON FRYE, )
    Individually,                       )
                                        )
  JENNIFER HEDRICK,                     )
    Individually, and                   )
                                        )
  KAITLYN SCOTT,                        )
    Individually,                       )
                                        )
         Defendants.                    )
  _________________________________)


                            TEMPORARY RESTRAINING ORDER

         THIS CAUSE is before the Court on Plaintiff Federal Trade Commission’s Complaint for

  Permanent Injunction and Other Equitable Relief pursuant to Sections 13(b) and 19 of the

  Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and 57b, and has moved,



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  pursuant to Fed. R. Civ. P. 65(b), for a temporary restraining order, asset freeze, other equitable

  relief, and an order to show cause why a preliminary injunction should not issue against Digital

  Income System, Inc., Derek Jones Foley, William J. Foley, Christopher Brandon Frye, Jennifer

  Hedrick, and Kaitlyn Scott.

                                         FINDINGS OF FACT

          The Court, having considered the Complaint, the ex parte Motion for a Temporary

  Restraining Order, declarations, exhibits, and the memorandum of points and authorities filed in

  support thereof, and being otherwise advised, GRANTS the Motion, D.E. 5, and finds that:

          A.      This Court has jurisdiction over the subject matter of this case, and there is good

  cause to believe that it will have jurisdiction over all parties hereto and that venue in this district

  is proper.

          B.      In numerous instances, Defendants have represented, directly or indirectly,

  expressly or by implication, that purchasers of memberships in Digital Income System, Inc., will

  earn or are likely to earn substantial income. These representations are false or misleading.

  Defendants have also failed to furnish prospective purchasers with the disclosure document and

  attachments required by the Business Opportunity Rule, within the time period prescribed by the

  Rule. They have made earnings claims to prospective purchasers in connection with the offering

  for sale, sale, or promotion of a business opportunity while, among other things, (1) lacking a

  reasonable basis for the earnings claims at the time it was made, (2) lacking written

  substantiation for the earnings claims at the time it was made, or (3) failing to provide an

  earnings claims statement to the prospective purchaser, as required by the Business Opportunity

  Rule. They have misrepresented a specific level or range of actual or potential sales or gross or

  net income or profits that a prospective purchaser may earn or that prior purchasers have earned.



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  They have also misrepresented the likelihood that Digital Income System will find customers for

  the purchaser.

         C.        There is good cause to believe that Defendants Digital Income System, Inc.,

  Derek Jones Foley, William J. Foley, Christopher Brandon Frye, Jennifer Hedrick, and Kaitlyn

  Scott have engaged in and are likely to engage in acts or practices that violate Section 5(a) of the

  FTC Act, 15 U.S.C. § 45(a), and The Business Opportunity Rule, 16 C.F.R. § 437, and that

  Plaintiff is therefore likely to prevail on the merits of this action. In numerous instances,

  Defendants falsely claim that purchasers of their Digital Income System membership will earn

  substantial income quickly and easily. As demonstrated by the consumer declarations and copies

  of Defendants’ websites and text messages, the FTC has established a likelihood of success in

  showing that Defendants have made serious misrepresentations that have enticed consumers to

  lose large amounts of money.

         D.        There is good cause to believe that immediate and irreparable harm will result

  from Defendants’ ongoing violations of the FTC Act and the Business Opportunity Rule unless

  Defendants are restrained and enjoined by order of this Court.

         E.        There is good cause to believe that immediate and irreparable damage to the

  Court’s ability to grant effective final relief for consumers – including monetary restitution,

  rescission, disgorgement or refunds – will occur from the sale, transfer, destruction or other

  disposition or concealment by Defendants of their assets or records, unless Defendants are

  immediately restrained and enjoined by order of this Court; and that, in accordance with Fed. R.

  Civ. P. 65(b), the interests of justice require that this Order be granted without prior notice to

  Defendants. Thus, there is good cause for relieving Plaintiff of the duty to provide Defendants

  with prior notice of its Motion for a Temporary Restraining Order.



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          F.      Good cause exists for appointing a temporary receiver over the Receivership

  Entities, freezing Defendants’ assets, permitting the Plaintiff and the Receiver immediate access

  to any Defendants’ business premises, and permitting the Plaintiff and the Receiver to take

  expedited discovery.

          G.      Weighing the equities and considering Plaintiff’s likelihood of ultimate success

  on the merits, a temporary restraining order with an asset freeze, the appointment of a temporary

  receiver, immediate access to any business premises, expedited discovery, and other equitable

  relief is in the public interest.

          H.      This Court has authority to issue this Order pursuant to Sections 13(b) and 19 of

  the FTC Act, 15 U.S.C. §§ 53(b) and 57b; Federal Rule of Civil Procedure 65; and the All Writs

  Act, 28 U.S.C. § 1651.

          I.      No security is required of any agency of the United States for issuance of a

  temporary restraining order. Fed. R. Civ. P. 65(c); 15 U.S.C. § 53(b).

                                             DEFINITIONS

          For the purpose of this Order, the following definitions shall apply:

          A.      “Asset” means any legal or equitable interest in, right to, or claim to, any

  property, wherever located and by whomever held.

          B.      “Corporate Defendant” means Digital Income System, Inc., and each of its

  subsidiaries, affiliates, successors, and assigns.

          C.      “Defendants” means Corporate Defendant and Individual Defendants

  individually, collectively, or in any combination.

          D.      “Document” is synonymous in meaning and equal in scope to the usage of

  “document” and “electronically stored information” in Federal Rule of Civil Procedure 34(a),



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  Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs, sound and

  video recordings, images, Internet sites, web pages, websites, electronic correspondence,

  including e-mail and instant messages, contracts, accounting data, advertisements, FTP Logs,

  Server Access Logs, books, written or printed records, handwritten notes, telephone logs,

  telephone scripts, receipt books, ledgers, personal and business canceled checks and check

  registers, bank statements, appointment books, computer records, customer or sales databases

  and any other electronically stored information, including Documents located on remote servers

  or cloud computing systems, and other data or data compilations from which information can be

  obtained directly or, if necessary, after translation into a reasonably usable form. A draft or non-

  identical copy is a separate document within the meaning of the term.

         E.      “Electronic Data Host” means any person or entity in the business of storing,

  hosting, or otherwise maintaining electronically stored information. This includes, but is not

  limited to, any entity hosting a website or server, and any entity providing “cloud based”

  electronic storage.

         F.      “Individual Defendants” means Derek Jones Foley, William J. Foley,

  Christopher Brandon Frye, Jennifer Hedrick, and Kaitlyn Scott, individually, collectively, or in

  any combination.

         G.      “Receiver” means the temporary receiver appointed in Section XI of this Order

  and any deputy receivers that shall be named by the temporary receiver.

         H.      “Receivership Entities” means the Corporate Defendant as well as any other

  entity that has conducted any business related to Defendants’ marketing of their business

  opportunity, including receipt or transfer of Assets derived from any activity that is the subject of




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  the Complaint in this matter, and that the Receiver determines is controlled or owned by any

  Defendant.

                                                 ORDER

                          I.      PROHIBITED BUSINESS ACTIVITIES

          IT IS THEREFORE ORDERED that Defendants, Defendants’ officers, agents,

  employees, and attorneys, and all other persons in active concert or participation with them, who

  receive actual notice of this Order by personal service or otherwise, whether acting directly or

  indirectly, in connection with the advertising, marketing, promoting, offering for sale, or sale of

  any goods or services, are temporarily restrained and enjoined from misrepresenting or assisting

  others in misrepresenting, expressly or by implication, any material fact, including, but not

  limited to:

          A.      Consumers who purchase Defendants’ goods or services will earn or are likely to

  earn substantial income;

          B.      The likelihood that Digital Income System will find locations, outlets, accounts,

  or customers for the purchaser; and

          C.      Any other fact material to consumers concerning any good or service, such as:

  the total costs; any material restrictions, limitations, or conditions; or any material aspect of its

  performance, efficacy, nature, or central characteristics.

          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

  and attorneys, and all other persons in active concert or participation with them, who receive

  actual notice of this Order by personal service or otherwise, whether acting directly or indirectly,

  in connection with the advertising, marketing, promoting, offering for sale, or sale of any goods

  or services, are temporarily restrained and enjoined from failing to furnish prospective



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  purchasers with the disclosure document and attachments required by the Business Opportunity

  Rule, within the time period prescribed by the Rule.


           II.     PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

         IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

  and attorneys, and all other persons in active concert or participation with any of them, who

  receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

  restrained and enjoined from:

         A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

  birth date, telephone number, email address, credit card number, bank account number, Social

  Security number, or other financial or identifying information of any person that any Defendant

  obtained in connection with any activity that pertains to the subject matter of this Order; and

         B.      Benefitting from or using the name, address, birth date, telephone number, email

  address, credit card number, bank account number, Social Security number, or other financial or

  identifying information of any person that any Defendant obtained in connection with any

  activity that pertains to the subject matter of this Order.

         Provided, however, that Defendants may disclose such identifying information to a law

  enforcement agency, to their attorneys as required for their defense, as required by any law,

  regulation, or court order, or in any filings, pleadings or discovery in this action in the manner

  required by the Federal Rules of Civil Procedure and by any protective order in the case.

                                        III.    ASSET FREEZE

         IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,

  and attorneys, and all other persons in active concert or participation with any of them, who




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  receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

  restrained and enjoined from:

         A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

  concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

  lien or security interest or other interest in, or otherwise disposing of any Assets that are:

                 1.      owned or controlled, directly or indirectly, by any Defendant;

                 2.      held, in part or in whole, for the benefit of any Defendant;

                 3.      in the actual or constructive possession of any Defendant; or

                 4.      owned or controlled by, in the actual or constructive possession of, or

                         otherwise held for the benefit of, any corporation, partnership, asset

                         protection trust, or other entity that is directly or indirectly owned,

                         managed or controlled by any Defendant.

         B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

  or storage facilities titled in the name of any Defendant or subject to access by any Defendant,

  except as necessary to comply with written requests from the Receiver acting pursuant to its

  authority under this Order;

         C.      Incurring charges or cash advances on any credit, debit, or ATM card issued in

  the name, individually or jointly, of any Corporate Defendant or any corporation, partnership, or

  other entity directly or indirectly owned, managed, or controlled by any Defendant or of which

  any Defendant is an officer, director, member, or manager. This includes any corporate

  bankcard or corporate credit card account for which any Defendant is, or was on the date that this

  Order was signed, an authorized signor; or




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         D.         Cashing any checks or depositing any money orders or cash received from

  consumers, clients, or customers of any Defendant. Any checks or money orders in the

  possession of any Defendant at the time of service of this order shall be turned over to the

  Receiver.

         The Assets affected by this Section shall include: (1) all Assets of Defendants as of the

  time this Order is entered; and (2) Assets obtained by Defendants after this Order is entered if

  those Assets are derived from any activity that is the subject of the Complaint in this matter or

  that is prohibited by this Order. This Section does not prohibit any transfers to the Receiver or

  repatriation of foreign Assets specifically required by this order.

              IV.     DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

         IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic

  Data Host, credit card processor, payment processor, merchant bank, acquiring bank,

  independent sales organization, third party processor, payment gateway, insurance company,

  business entity, or person who receives actual notice of this Order (by service or otherwise) that:

         (a) has held, controlled, or maintained custody, through an account or otherwise, of any

  Document on behalf of any Defendant or any Asset that has been: owned or controlled, directly

  or indirectly, by any Defendant; held, in part or in whole, for the benefit of any Defendant; in the

  actual or constructive possession of any Defendant; or owned or controlled by, in the actual or

  constructive possession of, or otherwise held for the benefit of, any corporation, partnership,

  asset protection trust, or other entity that is directly or indirectly owned, managed or controlled

  by any Defendant;

         (b) has held, controlled, or maintained custody, through an account or otherwise, of any

  Document or Asset associated with credits, debits, or charges made on behalf of any Defendant,

  including reserve funds held by payment processors, credit card processors, merchant banks,
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  acquiring banks, independent sales organizations, third party processors, payment gateways,

  insurance companies, or other entities; or

         (c) has extended credit to any Defendant, including through a credit card account, shall:

         A.      Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

  alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

  conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or

  other property related to such Assets, except by further order of this Court; provided, however,

  that this provision does not prohibit an Individual Defendant from incurring charges on a

  personal credit card established prior to entry of this Order, up to the pre-existing credit limit;

         B.      Deny any person, except the Receiver, access to any safe deposit box, commercial

  mail box, or storage facility that is titled in the name of any Defendant, either individually or

  jointly, or otherwise subject to access by any Defendant;

         C.      Provide Plaintiff’s counsel and the Receiver, within three (3) days of receiving a

  copy of this Order, a sworn statement setting forth, for each Asset or account covered by this

  Section:

                 1.      The identification number of each such account or Asset;

                 2.      The balance of each such account, or a description of the nature and value

                         of each such Asset as of the close of business on the day on which this

                         Order is served, and, if the account or other Asset has been closed or

                         removed, the date closed or removed, the total funds removed in order to

                         close the account, and the name of the person or entity to whom such

                         account or other Asset was remitted; and




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                 3.      The identification of any safe deposit box, commercial mail box, or

                         storage facility that is either titled in the name, individually or jointly, of

                         any Defendant, or is otherwise subject to access by any Defendant; and

         D.      Upon the request of Plaintiff’s counsel or the Receiver, promptly provide

  Plaintiff’s counsel and the Receiver with copies of all records or other Documents pertaining to

  each account covered by this Section or Asset, including originals or copies of account

  applications, account statements, signature cards, checks, drafts, deposit tickets, transfers to and

  from the accounts, including wire transfers and wire transfer instructions, all other debit and

  credit instruments or slips, currency transaction reports, 1099 forms, and all logs and records

  pertaining to safe deposit boxes, commercial mail boxes, and storage facilities.

  Provided, however, that this Section does not prohibit any transfers to the Receiver or

  repatriation of foreign Assets specifically required by this order.


                                 V.     FINANCIAL DISCLOSURES

         IT IS FURTHER ORDERED that each Defendant, within five (5) days of service of

  this Order upon them, shall prepare and deliver to Plaintiff’s counsel and the Receiver:

         A.      completed financial statements on the forms attached to this Order as Attachment

  A (Financial Statement of Individual Defendant) for each Individual Defendant, and Attachment

  B (Financial Statement of Corporate Defendant) for the Corporate Defendant; and

         B.      completed Attachment C (IRS Form 4506, Request for Copy of a Tax Return)

  for each Individual and Corporate Defendant.

                           VI.        FOREIGN ASSET REPATRIATION

         IT IS FURTHER ORDERED that within five (5) days following the service of this

  Order, each Defendant shall:


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            A.    Provide Plaintiff’s counsel and the Receiver with a full accounting, verified under

  oath and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of

  the United States which are: (1) titled in the name, individually or jointly, of any Defendant; (2)

  held by any person or entity for the benefit of any Defendant or for the benefit of, any

  corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

  managed or controlled by any Defendant; or (3) under the direct or indirect control, whether

  jointly or singly, of any Defendant;

            B.    Take all steps necessary to provide Plaintiff’s counsel and Receiver access to all

  Documents and records that may be held by third parties located outside of the territorial United

  States of America, including signing the Consent to Release of Financial Records appended to

  this Order as Attachment D.

            C.    Transfer to the territory of the United States all Documents and Assets located in

  foreign countries which are: (1) titled in the name, individually or jointly, of any Defendant; (2)

  held by any person or entity for the benefit of any Defendant or for the benefit of, any

  corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

  managed or controlled by any Defendant; or (3) under the direct or indirect control, whether

  jointly or singly, of any Defendant; and

            D.    The same business day as any repatriation, (1) notify the Receiver and counsel for

  Plaintiff of the name and location of the financial institution or other entity that is the recipient of

  such Documents or Assets; and (2) serve this Order on any such financial institution or other

  entity.

                     VII.    NON-INTERFERENCE WITH REPATRIATION

            IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

  and attorneys, and all other persons in active concert or participation with any of them, who
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  receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

  restrained and enjoined from taking any action, directly or indirectly, which may result in the

  encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by

  this Order, including, but not limited to:

          A.      Sending any communication or engaging in any other act, directly or indirectly,

  that results in a determination by a foreign trustee or other entity that a “duress” event has

  occurred under the terms of a foreign trust agreement until such time that all Defendants’ Assets

  have been fully repatriated pursuant to this Order; or

          B.      Notifying any trustee, protector or other agent of any foreign trust or other related

  entities of either the existence of this Order, or of the fact that repatriation is required pursuant to

  a court order, until such time that all Defendants’ Assets have been fully repatriated pursuant to

  this Order.

                              VIII. CONSUMER CREDIT REPORTS

          IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning any

  Defendants pursuant to Section 604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C.

  1681b(a)(1), and that, upon written request, any credit reporting agency from which such reports

  are requested shall provide them to Plaintiff.

                              IX.     PRESERVATION OF RECORDS

          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

  and attorneys, and all other persons in active concert or participation with any of them, who

  receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

  restrained and enjoined from:

          A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

  transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

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  relate to: (1) the business, business practices, Assets, or business or personal finances of any

  Defendant; (2) the business practices or finances of entities directly or indirectly under the

  control of any Defendant; or (3) the business practices or finances of entities directly or

  indirectly under common control with any other Defendant; and

         B.      Failing to create and maintain Documents that, in reasonable detail, accurately,

  fairly, and completely reflect Defendants’ incomes, disbursements, transactions, and use of

  Defendants’ Assets.

                        X.      REPORT OF NEW BUSINESS ACTIVITY

         IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

  and attorneys, and all other persons in active concert or participation with any of them, who

  receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

  restrained and enjoined from creating, operating, or exercising any control over any business

  entity, whether newly formed or previously inactive, including any partnership, limited

  partnership, joint venture, sole proprietorship, or corporation, without first providing Plaintiff’s

  counsel and the Receiver with a written statement disclosing: (1) the name of the business

  entity; (2) the address and telephone number of the business entity; (3) the names of the business

  entity’s officers, directors, principals, managers, and employees; and (4) a detailed description of

  the business entity’s intended activities.

                                 XI.     TEMPORARY RECEIVER

         IT IS FURTHER ORDERED that Curtis Miner of Colson Hicks Eidson is appointed as

  temporary receiver of the Receivership Entities with full powers of an equity receiver. The

  Receiver shall be solely the agent of this Court in acting as Receiver under this Order.




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                       XII.     DUTIES AND AUTHORITY OF RECEIVER

         IT IS FURTHER ORDERED that the Receiver is directed and authorized to

  accomplish the following:

         A.      Assume full control of Receivership Entities by removing, as the Receiver deems

  necessary or advisable, any director, officer, independent contractor, employee, attorney, or

  agent of any Receivership Entity from control of, management of, or participation in, the affairs

  of the Receivership Entity;

         B.      Take exclusive custody, control, and possession of all Assets and Documents of,

  or in the possession, custody, or under the control of, any Receivership Entity, wherever situated;

         C.      Take exclusive custody, control, and possession of all Documents or Assets

  associated with credits, debits, or charges made on behalf of any Receivership Entity, wherever

  situated, including reserve funds held by payment processors, credit card processors, merchant

  banks, acquiring banks, independent sales organizations, third party processors, payment

  gateways, insurance companies, or other entities;

         D.      Conserve, hold, manage, and prevent the loss of all Assets of the Receivership

  Entities, and perform all acts necessary or advisable to preserve the value of those Assets. The

  Receiver shall assume control over the income and profits therefrom and all sums of money now

  or hereafter due or owing to the Receivership Entities. The Receiver shall have full power to sue

  for, collect, and receive, all Assets of the Receivership Entities and of other persons or entities

  whose interests are now under the direction, possession, custody, or control of, the Receivership

  Entities. Provided, however, that the Receiver shall not attempt to collect any amount from a

  consumer if the Receiver believes the consumer’s debt to the Receivership Entities has resulted

  from the deceptive acts or practices or other violations of law alleged in the Complaint in this

  matter, without prior Court approval;
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         E.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

  Receivership Entities, and perform all acts necessary or advisable to preserve such Documents.

  The Receiver shall: divert mail; preserve all Documents of the Receivership Entities that are

  accessible via electronic means (such as online access to financial accounts and access to

  electronic documents held onsite or by Electronic Data Hosts, by changing usernames,

  passwords or other log-in credentials; take possession of all electronic Documents of the

  Receivership Entities stored onsite or remotely; take whatever steps necessary to preserve all

  such Documents; and obtain the assistance of the FTC’s Digital Forensic Unit for the purpose of

  obtaining electronic documents stored onsite or remotely.

         F.      Choose, engage, and employ attorneys, accountants, appraisers, and other

  independent contractors and technical specialists, as the Receiver deems advisable or necessary

  in the performance of duties and responsibilities under the authority granted by this Order;

         G.      Make payments and disbursements from the receivership estate that are necessary

  or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

  and to incur, or authorize the making of, such agreements as may be necessary and advisable in

  discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior

  approval of any payment of any debt or obligation incurred by the Receivership Entities prior to

  the date of entry of this Order, except payments that the Receiver deems necessary or advisable

  to secure Assets of the Receivership Entities, such as rental payments;

         H.      Take all steps necessary to secure and take exclusive custody of each location

  from which the Receivership Entities operate their businesses. Such steps may include, but are

  not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing

  the location by changing the locks and alarm codes and disconnecting any internet access or



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  other means of access to the computers, servers, internal networks, or other records maintained at

  that location; and (2) requiring any persons present at the location to leave the premises, to

  provide the Receiver with proof of identification, and/or to demonstrate to the satisfaction of the

  Receiver that such persons are not removing from the premises Documents or Assets of the

  Receivership Entities. Law enforcement personnel, including, but not limited to, police or

  sheriffs, may assist the Receiver in implementing these provisions in order to keep the peace and

  maintain security. If requested by the Receiver, the United States Marshal will provide

  appropriate and necessary assistance to the Receiver to implement this Order and is authorized to

  use any necessary and reasonable force to do so;

         I.      Take all steps necessary to prevent the modification, destruction, or erasure of any

  web page or website registered to and operated, in whole or in part, by any Defendants, and to

  provide access to all such web page or websites to Plaintiff’s representatives, agents, and

  assistants, as well as Defendants and their representatives;

         J.      Enter into and cancel contracts and purchase insurance as advisable or necessary;

         K.      Prevent the inequitable distribution of Assets and determine, adjust, and protect

  the interests of consumers who have transacted business with the Receivership Entities;

         L.      Make an accounting, as soon as practicable, of the Assets and financial condition

  of the receivership and file the accounting with the Court and deliver copies thereof to all parties;

         M.      Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or

  otherwise become party to any legal action in state, federal or foreign courts or arbitration

  proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

  the Receivership Entities, or to carry out the Receiver’s mandate under this Order, including but

  not limited to, actions challenging fraudulent or voidable transfers;



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             N.   Issue subpoenas to obtain Documents and records pertaining to the Receivership,

  and conduct discovery in this action on behalf of the receivership estate, in addition to obtaining

  other discovery as set forth in this Order;

             O.   Open one or more bank accounts at designated depositories for funds of the

  Receivership Entities. The Receiver shall deposit all funds of the Receivership Entities in such

  designated accounts and shall make all payments and disbursements from the receivership estate

  from such accounts. The Receiver shall serve copies of monthly account statements on all

  parties;

             P.   Maintain accurate records of all receipts and expenditures incurred as Receiver;

             Q.   Allow the Plaintiffs’ representatives, agents, and assistants, as well as

  Defendants’ representatives and Defendants themselves, reasonable access to the premises of the

  Receivership Entities, or any other premises where the Receivership Entities conduct business.

  The purpose of this access shall be to inspect and copy any and all books, records, Documents,

  accounts, and other property owned by, or in the possession of, the Receivership Entities or their

  agents. The Receiver shall have the discretion to determine the time, manner, and reasonable

  conditions of such access;

             R.   Allow the Plaintiffs’ representatives, agents, and assistants, as well as Defendants

  and their representatives, reasonable access to all Documents in the possession, custody, or

  control of the Receivership Entities;

             S.   Cooperate with reasonable requests for information or assistance from any state or

  federal civil or criminal law enforcement agency;

             T.   Suspend business operations of the Receivership Entities if in the judgment of the

  Receiver such operations cannot be continued legally and profitably;



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         U.      If the Receiver identifies a nonparty entity as a Receivership Entity, promptly

  notify the entity as well as the parties, and inform the entity that it can challenge the Receiver’s

  determination by filing a motion with the Court. Provided, however, that the Receiver may delay

  providing such notice until the Receiver has established control of the nonparty entity and its

  assets and records, if the Receiver determines that notice to the entity or the parties before the

  Receiver establishes control over the entity may result in the destruction of records, dissipation

  of assets, or any other obstruction of the Receiver’s control of the entity; and

         V.      If in the Receiver’s judgment the business operations cannot be continued legally

  and profitably, take all steps necessary to ensure that any of the Receivership Entities’ web pages

  or websites relating to the activities alleged in the Complaint cannot be accessed by the public, or

  are modified for consumer education and/or informational purposes, and take all steps necessary

  to ensure that any telephone numbers associated with the Receivership Entities cannot be

  accessed by the public, or are answered solely to provide consumer education or information

  regarding the status of operations.

              XIII. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

         IT IS FURTHER ORDERED that Defendants and any other person, with possession,

  custody or control of property of, or records relating to, the Receivership Entities shall, upon

  notice of this Order by personal service or otherwise, fully cooperate with and assist the Receiver

  in taking and maintaining possession, custody, or control of the Assets and Documents of the

  Receivership Entities and immediately transfer or deliver to the Receiver possession, custody,

  and control of, the following:

         A.      All Assets held by or for the benefit of the Receivership Entities;

         B.      All Documents or Assets associated with credits, debits, or charges made on

  behalf of any Receivership Entity, wherever situated, including reserve funds held by payment
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  processors, credit card processors, merchant banks, acquiring banks, independent sales

  organizations, third party processors, payment gateways, insurance companies, or other entities;

          C.     All Documents of or pertaining to the Receivership Entities;

          D.     All computers, electronic devices, mobile devices and machines used to conduct

  the business of the Receivership Entities;

          E.     All Assets and Documents belonging to other persons or entities whose interests

  are under the direction, possession, custody, or control of the Receivership Entities; and

          F.     All keys, codes, user names and passwords necessary to gain or to secure access

  to any Assets or Documents of or pertaining to the Receivership Entities, including access to

  their business premises, means of communication, accounts, computer systems (onsite and

  remote), Electronic Data Hosts, or other property.

  In the event that any person or entity fails to deliver or transfer any Asset or Document, or

  otherwise fails to comply with any provision of this Section, the Receiver may file an Affidavit

  of Non-Compliance regarding the failure and a motion seeking compliance or a contempt

  citation.

                   XIV. PROVISION OF INFORMATION TO RECEIVER

          IT IS FURTHER ORDERED that Defendants shall immediately provide to the

  Receiver:

          A.     A list of all Assets and accounts of the Receivership Entities that are held in any

  name other than the name of a Receivership Entity, or by any person or entity other than a

  Receivership Entity;

          B.     A list of all agents, employees, officers, attorneys, servants and those persons in

  active concert and participation with the Receivership Entities, or who have been associated or

  done business with the Receivership Entities; and
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          C.     A description of any documents covered by attorney-client privilege or attorney

  work product, including files where such documents are likely to be located, authors or recipients

  of such documents, and search terms likely to identify such electronic documents.

                        XV.     COOPERATION WITH THE RECEIVER

          IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’ or

  Receivership Entities’ officers, agents, employees, and attorneys, all other persons in active

  concert or participation with any of them, and any other person with possession, custody, or

  control of property of or records relating to the Receivership entities who receive actual notice of

  this Order shall fully cooperate with and assist the Receiver. This cooperation and assistance

  shall include, but is not limited to, providing information to the Receiver that the Receiver deems

  necessary to exercise the authority and discharge the responsibilities of the Receiver under this

  Order; providing any keys, codes, user names and passwords required to access any computers,

  electronic devices, mobile devices, and machines (onsite or remotely) and any cloud account

  (including specific method to access account) or electronic file in any medium; advising all

  persons who owe money to any Receivership Entity that all debts should be paid directly to the

  Receiver; and transferring funds at the Receiver’s direction and producing records related to the

  Assets and sales of the Receivership Entities.

                    XVI. NON-INTERFERENCE WITH THE RECEIVER

          IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’ or

  Receivership Entities’ officers, agents, employees, and attorneys, and all other persons in active

  concert or participation with any of them, who receive actual notice of this Order, and any other

  person served with a copy of this Order, are hereby restrained and enjoined from directly or

  indirectly:



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          A.      Interfering with the Receiver’s efforts to manage, or take custody, control, or

  possession of, the Assets or Documents subject to the receivership;

          B.      Transacting any of the business of the Receivership Entities;

          C.      Transferring, receiving, altering, selling, encumbering, pledging, assigning,

  liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

  custody of, or in which an interest is held or claimed by, the Receivership Entities; or

          D.      Refusing to cooperate with the Receiver or the Receiver’s duly authorized agents

  in the exercise of their duties or authority under any order of this Court.

                                      XVII. STAY OF ACTIONS

          IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

  of the receivership ordered herein, Defendants, Defendants’ officers, agents, employees, and

  attorneys, and all other persons in active concert or participation with any of them, who receive

  actual notice of this Order, and their corporations, subsidiaries, divisions, or affiliates, and all

  investors, creditors, stockholders, lessors, customers and other persons seeking to establish or

  enforce any claim, right, or interest against or on behalf of Defendants, and all others acting for

  or on behalf of such persons, are hereby enjoined from taking action that would interfere with the

  exclusive jurisdiction of this Court over the Assets or Documents of the Receivership Entities,

  including, but not limited to:

          A.      Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

  11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of the Receivership

  Entities;

          B.      Commencing, prosecuting, or continuing a judicial, administrative, or other action

  or proceeding against the Receivership Entities, including the issuance or employment of process



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  against the Receivership Entities, except that such actions may be commenced if necessary to toll

  any applicable statute of limitations;

           C.     Filing or enforcing any lien on any asset of the Receivership Entities, taking or

  attempting to take possession, custody, or control of any Asset of the Receivership Entities; or

  attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the Receivership

  Entities, whether such acts are part of a judicial proceeding, are acts of self-help, or otherwise;

           Provided, however, that this Order does not stay: (1) the commencement or continuation

  of a criminal action or proceeding; (2) the commencement or continuation of an action or

  proceeding by a governmental unit to enforce such governmental unit’s police or regulatory

  power; or (3) the enforcement of a judgment, other than a money judgment, obtained in an action

  or proceeding by a governmental unit to enforce such governmental unit’s police or regulatory

  power.

                            XVIII. COMPENSATION OF RECEIVER

           IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

  as herein authorized, including counsel to the Receiver and accountants, are entitled to

  reasonable compensation for the performance of duties pursuant to this Order and for the cost of

  actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

  or control of, or which may be received by, the Receivership Entities. The Receiver shall file

  with the Court and serve on the parties periodic requests for the payment of such reasonable

  compensation, with the first such request filed no more than sixty (60) days after the date of

  entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

  fee applications without prior approval of the Court.




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                                    XIX. RECEIVER’S BOND

         IT IS FURTHER ORDERED that no bond shall be required to assure the Receiver’s

  conscientious performance of the duties and responsibilities imposed by this Order. See 28

  U.S.C. § 754; SEC v. Stinson, No. 10-CV-03130 (BMS), 2010 U.S. Dist. LEXIS 145539, at *8

  (E.D. Pa. Sep. 10, 2010).

         XX.     IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

         IT IS FURTHER ORDERED that:

         A.      In order to allow Plaintiff and the Receiver to preserve Assets and evidence

  relevant to this action and to expedite discovery, Plaintiff and the Receiver, and their

  representatives, agents, contractors, and assistants, shall have immediate access to the business

  premises and storage facilities, owned, controlled, or used by the Receivership Entities. Such

  locations include any onsite location and any offsite location or commercial mailbox used by the

  Receivership Entities. The Receiver may exclude Defendants, Receivership Entities, and their

  employees from the business premises during the immediate access;

         B.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

  assistants, are authorized to remove Documents from the Receivership Entities’ premises in

  order that they may be inspected, inventoried, and copied. Plaintiff shall return any removed

  materials to the Receiver within five (5) business days of completing inventorying and copying,

  or such time as is agreed upon by Plaintiff and the Receiver;

         C.      Plaintiff’s access to the Receivership Entities’ documents pursuant to this Section

  shall not provide grounds for any Defendant to object to any subsequent request for documents

  served by Plaintiff;

         D.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

  assistants, are authorized to obtain the assistance of federal, state and local law enforcement

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  officers as they deem necessary to effect service and to implement peacefully the provisions of

  this Order;

         E.      If any Documents, computers, or electronic storage devices containing

  information related to the business practices or finances of the Receivership Entities are at a

  location other than those listed herein, including personal residence(s) of any Defendant, then,

  immediately upon receiving notice of this order, Defendants and Receivership Entities shall

  produce to the Receiver all such Documents, computers, and electronic storage devices, along

  with any codes or passwords needed for access. In order to prevent the destruction of computer

  data, upon service of this Order, Defendants shall power down any such computers or electronic

  storage devices in the normal course of the operating system used on such devices and shall not

  be powered up or used until produced for copying and inspection; and

         F.      If any communications or records of any Receivership Entity are stored with an

  Electronic Data Host, such Entity shall, immediately upon receiving notice of this order, provide

  the Receiver with the username, passwords, and any other login credential needed to access the

  communications and records, and shall not attempt to access, or cause a third-party to attempt to

  access, the communications or records.

                    XXI. DISTRIBUTION OF ORDER BY DEFENDANTS

         IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of this

  Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member, officer,

  director, employee, agent, independent contractor, client, attorney, spouse, subsidiary, division,

  and representative of any Defendant, and shall, within ten (10) days from the date of entry of this

  Order, provide Plaintiff and the Receiver with a sworn statement that this provision of the Order

  has been satisfied, which statement shall include the names, physical addresses, phone numbers,

  and email addresses of each such person or entity who received a copy of the Order.
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  Furthermore, Defendants shall not take any action that would encourage officers, agents,

  members, directors, employees, salespersons, independent contractors, attorneys, subsidiaries,

  affiliates, successors, assigns or other persons or entities in active concert or participation with

  them to disregard this Order or believe that they are not bound by its provisions.

                                 XXII. EXPEDITED DISCOVERY

         IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R. Civ. P.

  26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 33, 34, and 45, Plaintiff

  and the Receiver are granted leave, at any time after service of this Order, to conduct limited

  expedited discovery for the purpose of discovering: (1) the nature, location, status, and extent of

  Defendants’ Assets; (2) the nature, location, and extent of Defendants’ business transactions and

  operations; (3) Documents reflecting Defendants’ business transactions and operations; or (4)

  compliance with this Order. The limited expedited discovery set forth in this Section shall

  proceed as follows:

         A.      Plaintiff and the Receiver may take the deposition of parties and non-parties.

  Forty-eight (48) hours’ notice shall be sufficient notice for such depositions. The limitations and

  conditions set forth in Rules 30(a)(2)(B) and 31(a)(2)(B) of the Federal Rules of Civil Procedure

  regarding subsequent depositions of an individual shall not apply to depositions taken pursuant

  to this Section. Any such deposition taken pursuant to this Section shall not be counted towards

  the deposition limit set forth in Rules 30(a)(2)(A) and 31(a)(2)(A) and depositions may be taken

  by telephone or other remote electronic means;

         B.      Plaintiff and the Receiver may serve upon parties requests for production of

  Documents or inspection that require production or inspection within five (5) days of service,

  provided, however, that three (3) days of notice shall be deemed sufficient for the production of

  any such Documents that are maintained or stored only in an electronic format;
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         C.      Plaintiff and the Receiver may serve upon parties interrogatories that require

  response within five (5) days after Plaintiff serves such interrogatories;

         D.      The Plaintiff and the Receiver may serve subpoenas upon non-parties that direct

  production or inspection within five (5) days of service;

         E.      Service of discovery upon a party to this action, taken pursuant to this Section,

  shall be sufficient if made by facsimile, email, or by overnight delivery;

         F.      Any expedited discovery taken pursuant to this Section is in addition to, and is not

  subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

  Rules of this Court. The expedited discovery permitted by this Section does not require a

  meeting or conference of the parties, pursuant to Rules 26(d) & (f) of the Federal Rules of Civil

  Procedure; and

         G.      The Parties are exempted from making initial disclosures under Fed. R. Civ. P.

  26(a)(1) until further order of this Court.

                                XXIII. SERVICE OF THIS ORDER

         IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

  Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

  contemporaneously with that Motion (other than the complaint and summons), may be served by

  any means, including facsimile transmission, electronic mail or other electronic messaging,

  personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any

  law enforcement agency, or by private process server, upon any Defendant or any person

  (including any financial institution) that may have possession, custody or control of any Asset or

  Document of any Defendant, or that may be subject to any provision of this Order pursuant to

  Rule 65(d)(2) of the Federal Rules of Civil Procedure. For purposes of this Section, service upon

  any branch, subsidiary, affiliate or office of any entity shall effect service upon the entire entity.
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                 XXIV. CORRESPONDENCE AND SERVICE ON PLAINTIFF

         IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

  and service of pleadings on Plaintiff shall be addressed to:

                 Harold E. Kirtz, Attorney, 1225 Peachtree Street, Suite 1500, Atlanta, Georgia

  30303; hkirtz@ftc.gov; 404-656-1357; 770-789-9378 (cell).

         Upon the initiation of any service of pleadings, notice of such fact shall be made

  immediately to Mr. Kirtz by e-mail or telephone call. Any physical correspondence undertaken

  shall also be delivered simultaneously by e-mail.

                        XXV. PRELIMINARY INJUNCTION HEARING

         IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), Defendants shall

  appear before Magistrate Judge Lisette Reid on the 1st day of December 2020, at 9:30 A.M., to

  show cause, if there is any, why the Court should not enter a preliminary injunction, pending

  final ruling on the Complaint against Defendants, enjoining the violations of the law alleged in

  the Complaint, continuing the freeze of their Assets, continuing the receivership, and imposing

  such additional relief as may be appropriate.

    XXVI. BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

         IT IS FURTHER ORDERED that:

         A.      Defendants shall file with the Court and serve on Plaintiff’s counsel any

  answering pleadings, affidavits, motions, expert reports or declarations, or legal memoranda no

  later than four (4) days prior to the “order to show cause hearing” scheduled pursuant to this

  Order. Plaintiff may file responsive or supplemental pleadings, materials, affidavits, or

  memoranda with the Court and serve the same on counsel for Defendants no later than one (1)

  day prior to the order to show Cause hearing. Provided that such affidavits, pleadings, motions,

  expert reports, declarations, legal memoranda or oppositions must be served by personal or

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  overnight delivery, facsimile or email, and be received by the other party or parties no later than

  5:00 p.m. (EST) on the appropriate dates set forth in this Section.

         B.      An evidentiary hearing on Plaintiff’s request for a preliminary injunction is not

  necessary unless Defendants demonstrate that they have, and intend to introduce, evidence that

  raises a genuine and material factual issue. The question of whether this Court should enter a

  preliminary injunction shall be resolved on the pleadings, declarations, exhibits, and memoranda

  filed by, and oral argument of, the parties. Live testimony shall be heard only on further order of

  this Court. Any motion to permit such testimony shall be filed with the Court and served on

  counsel for the other parties at least five (5) days prior to the preliminary injunction hearing in

  this matter. Such motion shall set forth the name, address, and telephone number of each

  proposed witness, a detailed summary or affidavit revealing the substance of each proposed

  witness’s expected testimony, and an explanation of why the taking of live testimony would be

  helpful to this Court. Any papers opposing a timely motion to present live testimony or to

  present live testimony in response to another party’s timely motion to present live testimony

  shall be filed with this Court and served on the other parties at least three (3) days prior to the

  order to show cause hearing.

         Provided, however, that service shall be performed by personal or overnight delivery,

  facsimile or email, and Documents shall be delivered so that they shall be received by the other

  parties no later than 5:00 p.m. EST on the appropriate dates provided in this Section.

                            XXVII.         DURATION OF THE ORDER

         IT IS FURTHER ORDERED that this Order shall expire fourteen (14) days from the

  date of entry noted below, unless within such time, the Order is extended for an additional period

  pursuant to Fed. R. Civ. P. 65(b)(2).



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                       XXVIII.       RETENTION OF JURISDICTION

          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

  all purposes.

          DONE AND ORDERED in Chambers at Miami, Florida, this _17th__ day of November
  2020.
                                                    _____________________________
                                                    URSULA UNGARO
                                                    UNITED STATES DISTRICT JUDGE




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